This is an application for leave to appeal from refusal of a writ of habeas corpus. Petitioner is imprisoned under sentence of three years for burglary. He alleges that he and a man who "had the stolen merchandise" were charged with burglary, each accused the other, the other man was granted a separate trial and found guilty of receiving stolen goods, and he was denied a fair trial, the equal protection of the law, and the right to be confronted with the witnesses against him, by not being permitted to testify, and call other witnesses, against *Page 758 
the other man; by the separate trial of the other man and the verdict the judge was biased against him and prejudged his case.
Petitioner's rights were not involved in the trial of the other man or affected thereby. The questions of guilt or innocence and credibility and weight of the evidence in his own case cannot be retried on habeas corpus. Rountree v. Wright, 189 Md. 292,55 A.2d 847, and cases cited.
Application denied, without costs.